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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


  BETTY GREGORY, on behalf of herself and Case No. __________
  all others similarly situated,

                                Plaintiff,           JURY TRIAL DEMANDED

  v.

  MILLIMAN SOLUTIONS, LLC and
  CMFG LIFE INSURANCE COMPANY
  d/b/a TRUSTAGE FINANCIAL GROUP,
  INC.,


                                 Defendants.

                                CLASS ACTION COMPLAINT

       Plaintiff Betty Gregory (“Plaintiff”), individually and on behalf of all similarly situated

persons, alleges the following against Defendants Milliman Solutions, LLC (“Milliman”) and

CMFG Life Insurance Company d/b/a TruStage Financial Group, Inc. (“CMFG”) (collectively

“Defendants”), based upon personal knowledge with respect to herself and on information and

belief derived from, among other things, investigation by her counsel and review of public

documents, as to all other matters:

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this class action against Defendants for their failure to properly

secure and safeguard Plaintiff’s and other similarly situated clients’ sensitive information,

including full names, addresses, dates of birth, and Social Security numbers (“PII”).




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       2.      Milliman is an insurance services business based in Seattle, Washington, that “. . .

provides a range of risk-assessment services to clients in multiple industries, including insurance

companies,” including but not limited to CMFG.1

       3.      CMFG is a Madison, Wisconsin based insurance company that offers a “wide range

of commercial and personal insurance products[,]"2 of which Plaintiff is a former customer.

       4.      Upon information and belief, former and current customers of the Defendants are

required to entrust Defendants, directly or indirectly, with sensitive, non-public PII, without which

Defendants could not perform their regular business activities, in order to obtain financial and/or

other service. Defendants retain this information for at least many years and even after the

consumer relationship has ended.

       5.      By obtaining, collecting, using, and deriving a benefit from the PII of Plaintiff and

Class Members, Defendants assumed legal and equitable duties to those individuals to protect and

safeguard that information from unauthorized access and intrusion.

       6.      On or about May 31, 2023, Defendants learned that one of their IT vendors had

been penetrated by a cyberattack and that a “third party accessed one of [its] MOVEit Transfer

servers on May 29, 2023 and May 30, 2023 and downloaded data.”3 In response, Defendants

“conducted a manual review of [its] records to confirm the identities of individuals potentially

affected by this event and their contact information to provide notifications.”4 As a result of their




1
  https://www.jdsupra.com/legalnews/milliman-solutions-llc-notifies-over-1-3423555/ (last
accessed Aug. 11, 2023); see also https://us.milliman.com/en/our-story (last accessed Aug. 11,
2023).
2
  https://www.trustage.com/ (last accessed Aug. 11, 2023).
3
  The “Notice Letter,” attached hereto as Exhibit A.
4
  Id.


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investigation, Defendants concluded₋₋on or about June 16, 2023₋₋that Plaintiff’s and Class

Members’ PII was compromised in the Data Breach.5

          7.    According to the Notice Letter sent to Plaintiff and Class Members on behalf of

Defendants, the compromised PII included individuals’ names, addresses, dates of birth, and Social

Security numbers.6

          8.    Defendants failed to adequately protect Plaintiff’s and Class Members PII––and

failed to even encrypt or redact this highly sensitive information. This unencrypted, unredacted PII

was compromised due to Defendants’ negligent and/or careless acts and omissions and their utter

failure to protect customers’ sensitive data. Hackers targeted and obtained Plaintiff's and Class

Members’ PII because of its value in exploiting and stealing the identities of Plaintiff and Class

Members. The present and continuing risk to victims of the Data Breach will remain for their

respective lifetimes.

          9.    Plaintiff brings this action on behalf of all persons whose PII was compromised as

a result of Defendants’ failure to: (i) adequately protect the PII of Plaintiff and Class Members; (ii)

warn Plaintiff and Class Members of Defendants’ inadequate information security practices; and

(iii) effectively secure hardware containing protected PII using reasonable and effective security

procedures free of vulnerabilities and incidents. Defendants’ conduct amounts at least to

negligence and violates federal and state statutes.

          10.   Defendants disregarded the rights of Plaintiff and Class Members by intentionally,

willfully, recklessly, or negligently failing to implement and maintain adequate and reasonable

measures and ensure those measures were followed by their IT vendors to ensure that the PII of

Plaintiff and Class Members was safeguarded, failing to take available steps to prevent an


5
    Id.
6
    Id.


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unauthorized disclosure of data, and failing to follow applicable, required, and appropriate

protocols, policies, and procedures regarding the encryption of data, even for internal use. As a

result, the PII of Plaintiff and Class Members was compromised through disclosure to an unknown

and unauthorized third party.

           11.   Plaintiff and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they should be entitled to injunctive and other equitable relief.

           12.   Plaintiff and Class Members have suffered injury as a result of Defendants’ conduct.

These injuries include: (i) invasion of privacy; (ii) lost or diminished value of PII; (iii) lost time

and opportunity costs associated with attempting to mitigate the actual consequences of the Data

Breach; (iv) loss of benefit of the bargain; and (v) the continued and certainly increased risk to

their PII, which: (a) remains unencrypted and available for unauthorized third parties to access and

abuse; and (b) remains backed up in Defendants’ possession and is subject to further unauthorized

disclosures so long as Defendants fail to undertake appropriate and adequate measures to protect

the PII.

           13.   Plaintiff and Class Members seek to remedy these harms and prevent any future

data compromise on behalf of herself and all similarly situated persons whose PII was

compromised and stolen as a result of the Data Breach and who remain at risk due to Defendants’

inadequate data security practices.

           14.   Plaintiff seeks remedies including, but not limited to, compensatory damages,

nominal damages, and reimbursement of out-of-pocket costs.

           15.   Plaintiff also seeks injunctive and equitable relief to prevent future injury on behalf

of herself and the putative Class.




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                                              PARTIES

        16.      Plaintiff is, and at all times mentioned herein was, an individual citizen of

California.

        17.      Milliman is a Delaware corporation with its principal place of business located in

Seattle, Washington.

        18.      CMFG is an Iowa corporation with its principal place of business located in

Madison, Wisconsin.

                                 JURISDICTION AND VENUE

        19.      The Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and costs. The number of Class Members is over 100, many of whom reside outside the

state of Wisconsin and have different citizenship from CMFG and Milliman, including Plaintiff.

Thus, minimal diversity exists under 28 U.S.C. §1332(d)(2)(A).

        20.      This Court has jurisdiction over Defendants because they operate in this District.

        21.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because CMFG’s

principal place of business is located in this District, a substantial part of the events giving rise to

this action occurred in this District, and Defendants have harmed Class Members residing in this

District.

                                   FACTUAL ALLEGATIONS

        Defendants’ Business

        22.      Milliman is an insurance services business based in Seattle, Washington, that “. . .

provides a range of risk-assessment services to clients in multiple industries, including insurance




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companies,” including but not limited to CMFG.7

       23.     CMFG is a Madison, Wisconsin based insurance company that offers a “wide

range of commercial and personal insurance products[,]"8 of which Plaintiff is a former customer

       24.     Plaintiff and Class Members are current and former customers of Defendants.

       25.     As a condition of receiving their products and/or services, Defendants require that

their customers, including Plaintiff and Class Members, entrust them with highly sensitive PII.

       26.     The information held by Defendants in their computer systems or those of their

vendors at the time of the Data Breach included the unencrypted PII of Plaintiff and Class

Members.

       27.     Upon information and belief, Defendants made promises and representations to

their clients’ customers, including Plaintiff and Class Members, that the PII collected from them

as a condition of obtaining products and/or services at Defendants’ client companies would be

kept safe, confidential, that the privacy of that information would be maintained, and that

Defendants would delete any sensitive information after they were no longer required to maintain

it.

       28.     Indeed, Milliman’s Privacy Policy provides that: “Milliman stores Personal Data

on a secure server that is password protected and shielded from unauthorized access by a firewall.

Milliman has in place security policies that are intended to ensure the security and integrity of all

Personal Data. Milliman has appropriate technical and organizational measures in place to protect

against unauthorized or unlawful processing of Personal Data and against accidental loss or




7
  https://www.jdsupra.com/legalnews/milliman-solutions-llc-notifies-over-1-3423555/ (last
accessed Aug. 11, 2023); see also https://us.milliman.com/en/our-story (last accessed Aug. 11,
2023).
8
  https://www.trustage.com/ (last accessed Aug. 11, 2023).


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destruction of, or damage to, Personal Data held or processed by Milliman. If Milliman forwards

Personal Data to any third party, Milliman requires that those third parties have appropriate

technical and organizational measures in place to comply with this Privacy Policy and applicable

laws."9

          29.    CMFG’s Privacy Policy provides that:

          We maintain physical, technological and administrative safeguards to protect
          your personal information and prevent unauthorized or accidental use,
          access, or loss. We limit access to personal information about you to those
          who have a business need for such access. Individuals who process personal
          information on our Business Partner’s behalf generally may do so only in an
          authorized manner and are required to keep your information confidential.
          We have policies in place that regulate how our employees and contractors
          handle information about you. We limit access to our premises and to our
          computer networks and take steps to safeguard against unauthorized access
          to such premises and networks. We have procedures in place to manage any
          suspected data security incident and will notify you consistent with
          applicable legal requirements. 10

          30.    Plaintiff and Class Members provided their PII to Defendants, directly or

indirectly, with the reasonable expectation and on the mutual understanding that Defendants

would comply with their obligations to keep such information confidential and secure from

unauthorized access.

          31.    Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII. Plaintiff and Class Members relied on the sophistication of

Defendants to keep their PII confidential and securely maintained, to use this information for

necessary purposes only, and to make only authorized disclosures of this information. Plaintiff

and Class Members value the confidentiality of their PII and demand security to safeguard their

PII.



9
    https://us.milliman.com/en/global-privacy-policy (last accessed Aug. 5, 2023).
10
     https://www.trustage.com/legal/privacy (last accessed Aug. 8, 2023)


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       32.     Defendants had a duty to adopt reasonable measures to protect the PII of Plaintiff

and Class Members from involuntary disclosure to third parties and to audit, monitor, and verify

the integrity of their IT vendors and affiliates. Defendants has a legal duty to keep consumer’s

PII safe and confidential.

       33.     Defendants had obligations created by FTC Act, Gramm-Leach-Bliley Act,

contract, industry standards, and representations made to Plaintiff and Class Members, to keep

their PII confidential and to protect it from unauthorized access and disclosure.

       34.     Defendants derived a substantial economic benefit from collecting Plaintiff’s and

Class Members’ PII. Without the required submission of PII, Defendants could not perform the

services they provide.

       35.     By obtaining, collecting, using, and deriving a benefit from Plaintiff’s and Class

Members’ PII, Defendants assumed legal and equitable duties and knew or should have known

that they were responsible for protecting Plaintiff’s and Class Members’ PII from disclosure.

       The Data Breach

       36.     On or about July 21, 2023, Pension Benefit Information, LLC, on behalf of

Defendants, began sending Plaintiff and other Data Breach victims a Notice Letter, informing

them that:

       What Happened? On or around May 31, 2023, Progress Software, the provider of
       MOVEit Transfer software disclosed a vulnerability in their software that had been
       exploited by an unauthorized third party. PBI utilizes MOVEit in the regular course of
       our business operations to securely transfer files. PBI promptly launched an investigation
       into the nature and scope of the MOVEit vulnerability’s impact on our systems. Through
       the investigation, we learned that the third party accessed one of our MOVEit Transfer
       servers on May 29, 2023 and May 30, 2023 and downloaded data. We then conducted a
       manual review of our records to confirm the identities of individuals potentially affected
       by this event and their contact information to provide notifications. We recently
       completed this review on June 16, 2023, and confirmed that information concerning a
       limited number of consumers was among the records involved in this incident.




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          What Information Was Involved? Our investigation determined that the following
          types of information related to you were present in the server at the time of the event:
          name, address, date of birth, and Social Security number.11

          37.    Omitted from the Notice Letter were the details of the root cause of the Data

Breach, the vulnerabilities exploited, and the remedial measures undertaken to ensure such a

breach does not occur again. To date, these critical facts have not been explained or clarified to

Plaintiff and Class Members, who retain a vested interest in ensuring that their PII remains

protected.

          38.    This “disclosure” amounts to no real disclosure at all, as it fails to inform, with

any degree of specificity, Plaintiff and Class Members of the Data Breach’s critical facts. Without

these details, Plaintiff’s and Class Members’ ability to mitigate the harms resulting from the Data

Breach is severely diminished.

          39.    Defendants did not use reasonable security procedures and practices appropriate

to the nature of the sensitive information they were maintaining for Plaintiff and Class Members,

causing the exposure of PII, such as encrypting the information or deleting it when it is no longer

needed. Moreover, Defendants failed to exercise due diligence in selecting their IT vendors or

deciding with whom they would share sensitive PII.

          40.    The attacker accessed and acquired files Defendants shared with a third party

containing unencrypted PII of Plaintiff and Class Members, including their Social Security

numbers and other sensitive information. Plaintiff’s and Class Members’ PII was accessed and

stolen in the Data Breach.

          41.    Plaintiff further believes his PII, and that of Class Members, was subsequently

sold on the dark web following the Data Breach, as that is the modus operandi of cybercriminals



11
     Notice Letter.


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that commit cyber-attacks of this type.

       Defendants Acquire, Collect, And Store Plaintiff’s and the Class’ PII

       42.     As a condition to obtain products and/or services from Milliman’s client

companies, Plaintiff and Class Members were required to give their sensitive and confidential

PII, directly or indirectly, to Defendants.

       43.     Defendants retain and store this information and derives a substantial economic

benefit from the PII that they collect. But for the collection of Plaintiff’s and Class Members’

PII, Defendants would be unable to perform their services.

       44.     By obtaining, collecting, and storing the PII of Plaintiff and Class Members,

Defendants assumed legal and equitable duties and knew or should have known that they were

responsible for protecting the PII from disclosure.

       45.     Plaintiff and Class Members have taken reasonable steps to maintain the

confidentiality of their PII and relied on Defendants to keep their PII confidential and maintained

securely, to use this information for business purposes only, and to make only authorized

disclosures of this information.

       46.     Defendants could have prevented this Data Breach by properly securing and

encrypting the files and file servers containing the PII of Plaintiff and Class Members or by

exercising due diligence in selecting their IT vendors and properly auditing those vendor’s

security practices.

       47.     Upon information and belief, as stated above, Defendants made promises to

Plaintiff and Class Members to maintain and protect their PII, demonstrating an understanding

of the importance of securing PII.

       48.     Defendants’ negligence in safeguarding the PII of Plaintiff and Class Members is




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exacerbated by the repeated warnings and alerts directed to protecting and securing sensitive data.

       Defendants Knew or Should Have Known of the Risk Because Insurance Companies
       In Possession Of PII Are Particularly Suspectable To Cyber Attacks

       49.     Defendants’ data security obligations were particularly important given the

substantial increase in cyber-attacks and/or data breaches targeting insurance companies that

collect and store PII, like Defendants, preceding the date of the breach.

       50.     Data thieves regularly target companies like Defendants due to the highly

sensitive information that they custody. Defendants knew and understood that unprotected PII is

valuable and highly sought after by criminal parties who seek to illegally monetize that PII

through unauthorized access.

       51.     In 2021, a record 1,862 data breaches occurred, resulting in approximately

293,927,708 sensitive records being exposed, a 68% increase from 2020.12

       52.     Indeed, cyber-attacks, such as the one experienced by Defendants, have become

so notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued

a warning to potential targets so they are aware of, and prepared for, a potential attack. As one

report explained, smaller entities that store PII are “attractive to ransomware criminals…because

they often have lesser IT defenses and a high incentive to regain access to their data quickly.”13

       53.     In light of recent high profile data breaches at other industry leading companies,

including, Microsoft (250 million records, December 2019), Wattpad (268 million records, June

2020), Facebook (267 million users, April 2020), Estee Lauder (440 million records, January



12
   See 2021 Data Breach Annual Report (ITRC, Jan. 2022) (available at
https://notified.idtheftcenter.org/s/), at 6.
13
   https://www.law360.com/consumerprotection/articles/1220974/fbi-secret-service-warn-of-
targeted-ransomware?nl_pk=3ed44a08-fcc2-4b6c-89f0-
aa0155a8bb51&utm_source=newsletter&utm_medium=email&utm_campaign=consumerprotect
ion (last accessed Aug. 11, 2023).


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2020), Whisper (900 million records, March 2020), and Advanced Info Service (8.3 billion

records, May 2020), Defendants knew or should have known that the PII that they collected and

maintained would be targeted by cybercriminals.

       54.     As a custodian of PII, Defendants knew, or should have known, the importance of

safeguarding the PII entrusted to them by Plaintiff and Class Members, and of the foreseeable

consequences if their data security systems were breached, including the significant costs

imposed on Plaintiff and Class Members as a result of a breach.

       55.     Despite the prevalence of public announcements of data breach and data security

compromises, Defendants failed to take appropriate steps to protect the PII of Plaintiff and Class

Members from being compromised.

       56.     At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members and of the foreseeable

consequences that would occur if Defendants’ data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a

result of a breach.

       57.     Additionally, as companies became more dependent on computer systems to run

their business,14 e.g., working remotely as a result of the Covid-19 pandemic, and the Internet of

Things (“IoT”), the danger posed by cybercriminals is magnified, thereby highlighting the need

for adequate administrative, physical, and technical safeguards.15

       58.     Defendants were, or should have been, fully aware of the unique type and the

significant volume of data on Defendants’ server(s), amounting to potentially over one million


14
   https://www.federalreserve.gov/econres/notes/feds-notes/implications-of-cyber-risk-for-
financial-stability-20220512.html (last accessed Aug. 11, 2023).
15
   https://www.picussecurity.com/key-threats-and-cyber-risks-facing-financial-services-and-
banking-firms-in-2022 (last accessed Aug. 11, 2023).


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individuals’ detailed, PII, and, thus, the significant number of individuals who would be harmed

by the exposure of the unencrypted data.

       59.     In the Notice Letter, Defendants offer to cover identity monitoring services for a

period of 12 months. This is wholly inadequate to compensate Plaintiff and Class Members as it

fails to provide for the fact victims of data breaches and other unauthorized disclosures commonly

face multiple years of ongoing identity theft, financial fraud, and it entirely fails to provide

sufficient compensation for the unauthorized release and disclosure of Plaintiff and Class

Members’ PII. Moreover, once this service expires, Plaintiff and Class Members will be forced

to pay out of pocket for necessary identity monitoring services.

       60.     Defendants’ offer of credit and identity monitoring establishes that Plaintiff’s and

Class Members’ sensitive PII was in fact affected, accessed, compromised, and exfiltrated from

Defendants’ computer systems.

       61.     The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendants’ failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

       62.     The ramifications of Defendants’ failure to keep secure the PII of Plaintiff and

Class Members are long lasting and severe. Once PII is stolen––particularly Social Security

numbers––fraudulent use of that information and damage to victims may continue for years.

       63.     As entities in possession of their clients’ current and former customers’ PII,

Defendants knew, or should have known, the importance of safeguarding the PII entrusted to

them by Plaintiff and Class Members and of the foreseeable consequences if their data security

systems were breached. This includes the significant costs imposed on Plaintiff and Class

Members as a result of a breach. Nevertheless, Defendants failed to take adequate cybersecurity




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measures to prevent the Data Breach.

        Value Of PII

        64.     The Federal Trade Commission (“FTC”) defines identity theft as “a fraud

committed or attempted using the identifying information of another person without authority.”16

The FTC describes “identifying information” as “any name or number that may be used, alone

or in conjunction with any other information, to identify a specific person,” including, among

other things, “[n]ame, Social Security number, date of birth, official State or government issued

driver’s license or identification number, alien registration number, government passport number,

employer or taxpayer identification number.”17

        65.     The PII of individuals remains of high value to criminals, as evidenced by the

prices they will pay through the dark web. Numerous sources cite dark web pricing for stolen

identity credentials.18

        66.     For example, PII can be sold at a price ranging from $40 to $200.19 Criminals can

also purchase access to entire company data breaches from $900 to $4,500.20

        67.     Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to


16
   17 C.F.R. § 248.201 (2023).
17
   Id.
18
   Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, available at: https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-
web-how-much-it-costs/ (last accessed Oct. 17, 2022).
19
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
6, 2017, available at: https://www.experian.com/blogs/ask-experian/heres-how-much-your-
personal-information-is-selling-for-on-the-dark-web/ (last accessed Oct. 17, 2022).
20
   In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-
browsing/in-the-dark/ (last accessed Oct. 17, 2022).


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change—names and Social Security numbers.

       68.     This data demands a much higher price on the black market. Martin Walter, senior

director at cybersecurity firm RedSeal, explained, “Compared to credit card information,

personally identifiable information . . . [is] worth more than 10x on the black market.”21

       69.     Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

       70.     The fraudulent activity resulting from the Data Breach may not come to light for

years. There may be a time lag between when harm occurs versus when it is discovered, and also

between when PII is stolen and when it is used. According to the U.S. Government Accountability

Office (“GAO”), which conducted a study regarding data breaches:

       [L]aw enforcement officials told us that in some cases, stolen data may be held for up to
       a year or more before being used to commit identity theft. Further, once stolen data have
       been sold or posted on the Web, fraudulent use of that information may continue for years.
       As a result, studies that attempt to measure the harm resulting from data breaches cannot
       necessarily rule out all future harm.22

       Defendants Failed to Comply with FTC Guidelines

       71.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision

making. Indeed, the FTC has concluded that a company’s failure to maintain reasonable and

appropriate data security for consumers’ sensitive personal information is an “unfair practice” in



21
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, IT World, (Feb. 6, 2015), available at:
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last accessed Oct. 17, 2022).
22
   Report to Congressional Requesters, GAO, at 29 (June 2007), available at:
https://www.gao.gov/assets/gao-07-737.pdf (last accessed Oct. 17, 2022).



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violation of Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. See, e.g.,

FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).

       72.     In October 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cybersecurity guidelines for businesses.

The guidelines note that businesses should protect the personal customer information that they

keep, properly dispose of personal information that is no longer needed, encrypt information

stored on computer networks, understand their network’s vulnerabilities, and implement policies

to correct any security problems. The guidelines also recommend that businesses use an intrusion

detection system to expose a breach as soon as it occurs, monitor all incoming traffic for activity

indicating someone is attempting to hack into the system, watch for large amounts of data being

transmitted from the system, and have a response plan ready in the event of a breach.

       73.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction, limit access to sensitive data, require complex

passwords to be used on networks, use industry-tested methods for security, monitor the network

for suspicious activity, and verify that third-party service providers have implemented reasonable

security measures.

       74.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data by treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by the FTCA. Orders resulting from these actions further clarify

the measures businesses must take to meet their data security obligations.

       75.     These FTC enforcement actions include actions against insurance companies, like

Defendants.




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        76.    As evidenced by the Data Breach, Defendants failed to properly implement basic

data security practices and failed to audit, monitor, or ensure the integrity of its vendor’s data

security practices. Defendants failure to employ reasonable and appropriate measures to protect

against unauthorized access to Plaintiff’s and Class Members’ PII constitutes an unfair act or

practice prohibited by Section 5 of the FTCA.

        77.    Defendants were, at all times, fully aware of its obligation to protect the PII of its

clients' customers yet failed to comply with such obligations. Defendants were also aware of the

significant repercussions that would result from their failure to do so.

        Defendants Failed to Comply with the Gramm-Leach-Bliley Act

        78.    Defendants are financial institutions, as that term is defined by Section 509(3)(A)

of the Gramm-Leach-Bliley Act (“GLBA”), 15 U.S.C. § 6809(3)(A), and thus are subject to the

GLBA.

        79.    The GLBA defines a financial institution as “any institution the business of which

is engaging in financial activities as described in Section 1843(k) of Title 12 [The Bank Holding

Company Act of 1956].” 15 U.S.C. § 6809(3)(A).

        80.    Defendants collect nonpublic personal information, as defined by 15 U.S.C. §

6809(4)(A), 16 C.F.R. § 313.3(n) and 12 C.F.R. § 1016.3(p)(1). Accordingly, during the relevant

time period Defendants were subject to the requirements of the GLBA, 15 U.S.C. §§ 6801.1, et

seq., and is subject to numerous rules and regulations promulgated on the GLBA statutes.

        81.    The GLBA Privacy Rule became effective on July 1, 2001. See 16 C.F.R. Part

313. Since the enactment of the Dodd-Frank Act on July 21, 2010, the Bureau of Consumer

Financial Protection (“CFPB”) became responsible for implementing the Privacy Rule. In

December 2011, the CFPB restated the implementing regulations in an interim final rule that




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established the Privacy of Consumer Financial Information, Regulation P, 12 C.F.R. § 1016

(“Regulation P”), with the final version becoming effective on October 28, 2014.

        82.     Accordingly, Defendants’ conduct is governed by the Privacy Rule prior to

December 30, 2011 and by Regulation P after that date.

        83.     Both the Privacy Rule and Regulation P require financial institutions to provide

customers with an initial and annual privacy notice. These privacy notices must be “clear and

conspicuous.” 16 C.F.R. §§ 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5. “Clear and

conspicuous means that a notice is reasonably understandable and designed to call attention to

the nature and significance of the information in the notice.” 16 C.F.R. § 313.3(b)(1); 12 C.F.R.

§ 1016.3(b)(1). These privacy notices must “accurately reflect[] [the financial institution’s]

privacy policies and practices.” 16 C.F.R. § 313.4 and 313.5; 12 C.F.R. §§ 1016.4 and 1016.5.

They must include specified elements, including the categories of nonpublic personal information

the financial institution collects and discloses, the categories of third parties to whom the financial

institution discloses the information, and the financial institution’s security and confidentiality

policies and practices for nonpublic personal information. 16 C.F.R. § 313.6; 12 C.F.R. § 1016.6.

These privacy notices must be provided “so that each consumer can reasonably be expected to

receive actual notice.” 16 C.F.R. § 313.9; 12 C.F.R. § 1016.9. As alleged herein, Defendants

violated the Privacy Rule and Regulation P.

        84.     Upon information and belief, Defendants failed to provide annual privacy notices

to customers after the customer relationship ended, despite retaining these customers’ PII and

storing that PII on Defendants’ network systems.

        85.     Defendants failed to adequately inform their customers that they were storing

and/or sharing, or would store and/or share, the customers’ PII on an insecure platform, accessible




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to unauthorized parties from the internet, and would do so after the customer relationship ended.

       86.     The Safeguards Rule, which implements Section 501(b) of the GLBA, 15 U.S.C.

§ 6801(b), requires financial institutions to protect the security, confidentiality, and integrity of

customer information by developing a comprehensive written information security program that

contains reasonable administrative, technical, and physical safeguards, including: (1) designating

one or more employees to coordinate the information security program; (2) identifying

reasonably foreseeable internal and external risks to the security, confidentiality, and integrity of

customer information, and assessing the sufficiency of any safeguards in place to control those

risks; (3) designing and implementing information safeguards to control the risks identified

through risk assessment, and regularly testing or otherwise monitoring the effectiveness of the

safeguards’ key controls, systems, and procedures; (4) overseeing service providers and requiring

them by contract to protect the security and confidentiality of customer information; and (5)

evaluating and adjusting the information security program in light of the results of testing and

monitoring, changes to the business operation, and other relevant circumstances. 16 C.F.R. §§

314.3 and 314.4.

       87.     As alleged herein, Defendants violated the Safeguard Rule.

       88.     Defendants failed to assess reasonably foreseeable risks to the security,

confidentiality, and integrity of customer information and failed to monitor the systems of their

IT partners or verify the integrity of those systems.

       89.     Defendants violated the GLBA and their own policies and procedures by sharing

the PII of Plaintiff and Class Members with a non-affiliated third party without providing Plaintiff

and Class Members (a) an opt-out notice and (b) a reasonable opportunity to opt out of such

disclosure.




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       Defendants Failed to Comply with Industry Standards

       90.     As noted above, experts studying cybersecurity routinely identify insurance

companies as being particularly vulnerable to cyberattacks because of the value of the PII which

they collect and maintain.

       91.     Some industry best practices that should be implemented by insurance companies

dealing with sensitive PII, like Milliman and CMFG, include but are not limited to: educating all

employees, strong password requirements, multilayer security including firewalls, anti-virus and

anti-malware software, encryption, multi-factor authentication, backing up data, and limiting

which employees can access sensitive data. As evidenced by the Data Breach, Defendants failed

to follow some or all of these industry best practices.

       92.     Other best cybersecurity practices that are standard in the insurance industry

include: installing appropriate malware detection software; monitoring and limiting network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches, and routers; monitoring and protecting physical security systems; and

training staff regarding these points. As evidenced by the Data Breach, Defendants failed to

follow these cybersecurity best practices.

       93.     Defendants failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center

for Internet Security’s Critical Security Controls (CIS CSC), which are all established standards

in reasonable cybersecurity readiness.

       94.     Defendants failed to comply with these accepted standards in the insurance




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industry, thereby permitting the Data Breach to occur.

       Defendants Breached Their Duty to Safeguard Plaintiff’s and Class Members’ PII

       95.      In addition to its obligations under federal and state laws, Defendants owed a duty

to Plaintiff and Class Members to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting the PII in its possession from being compromised, lost,

stolen, accessed, and misused by unauthorized persons. Defendants owed a duty to Plaintiff and

Class Members to provide reasonable security, including consistency with industry standards and

requirements, and to ensure that its computer systems, networks, and protocols, and those of the

parties with whom it shared PII, adequately protected the PII of Class Members

       96.      Defendants breached their obligations to Plaintiff and Class Members and/or were

otherwise negligent and reckless because they failed to properly maintain and safeguard their

computer systems and data and failed to audit, monitor, or ensure the integrity of its vendor’s

data security practices. Defendants’ unlawful conduct includes, but is not limited to, the following

acts and/or omissions:

             a. Failing to maintain an adequate data security system that would reduce the risk of

                data breaches and cyberattacks;

             b. Failing to adequately protect customers’ PII;

             c. Failing to properly monitor its own data security systems for existing intrusions;

             d. Failing to audit, monitor, or ensure the integrity of its vendor’s data security

                practices;

             e. Failing to sufficiently train its employees and vendors regarding the proper

                handling of its customers PII;

             f. Failing to fully comply with FTC guidelines for cybersecurity in violation of the




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                FTCA;

             g. Failing to adhere to the Gramm-Leach-Bliley Act and industry standards for

                cybersecurity as discussed above; and

             h. Otherwise breaching its duties and obligations to protect Plaintiff’s and Class

                Members’ PII.

       97.      Defendants negligently and unlawfully failed to safeguard Plaintiff’s and Class

Members’ PII by allowing cyberthieves to access its computer network and systems which

contained unsecured and unencrypted PII.

       98.      Had Defendants remedied the deficiencies in thier information storage and

security systems or those of its vendors and affiliates, followed industry guidelines, and adopted

security measures recommended by experts in the field, they could have prevented intrusion into

their information storage and security systems and, ultimately, the theft of Plaintiff’s and Class

Members’ confidential PII.

       Common Injuries & Damages

       99.      As a result of Defendants’ ineffective and inadequate data security practices, the

Data Breach, and the foreseeable consequences of PII ending up in the possession of criminals,

the risk of identity theft to the Plaintiff and Class Members has materialized and is imminent, and

Plaintiff and Class Members have all sustained actual injuries and damages, including: (a)

invasion of privacy; (b) loss of time and loss of productivity incurred mitigating the materialized

risk and imminent threat of identity theft risk; (c) the loss of benefit of the bargain (price premium

damages); (d) diminution of value of their PII; (e) invasion of privacy; and (f) the continued risk

to their PII, which remains in the possession of Defendants, and which is subject to further

breaches, so long as Defendants fail to undertake appropriate and adequate measures to protect




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Plaintiff’s and Class Members’ PII.

        The Data Breach Increases Victims’ Risk of Identity Theft

        100.    Plaintiff and Class Members are at a heightened risk of identity theft for years to

come.

        101.    The unencrypted PII of Class Members will end up for sale on the dark web

because that is the modus operandi of hackers. In addition, unencrypted PII may fall into the

hands of companies that will use the detailed PII for targeted marketing without the approval of

Plaintiff and Class Members. Unauthorized individuals can easily access the PII of Plaintiff and

Class Members.

        102.    The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal PII to monetize the information. Criminals monetize the

data by selling the stolen information on the black market to other criminals who then utilize the

information to commit a variety of identity theft related crimes discussed below.

        103.    Because a person’s identity is akin to a puzzle with multiple data points, the more

accurate pieces of data an identity thief obtains about a person, the easier it is for the thief to take

on the victim’s identity--or track the victim to attempt other hacking crimes against the individual

to obtain more data to perfect a crime.

        104.    For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information about a

victim’s identity, such as a person’s login credentials or Social Security number. Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate and trick individuals into disclosing additional confidential or personal information

through means such as spam phone calls and text messages or phishing emails. Data Breaches




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can be the starting point for these additional targeted attacks on the victim.

       105.    One such example of criminals piecing together bits and pieces of compromised

PII for profit is the development of “Fullz” packages.23

       106.    With “Fullz” packages, cyber-criminals can cross-reference two sources of PII to

marry unregulated data available elsewhere to criminally stolen data with an astonishingly

complete scope and degree of accuracy in order to assemble complete dossiers on individuals.

       107.    The development of “Fullz” packages means here that the stolen PII from the Data

Breach can easily be used to link and identify it to Plaintiff’s and Class Members’ phone numbers,

email addresses, and other unregulated sources and identifiers. In other words, even if certain

information such as emails, phone numbers, or credit card numbers may not be included in the

PII that was exfiltrated in the Data Breach, criminals may still easily create a Fullz package and

sell it at a higher price to unscrupulous operators and criminals (such as illegal and scam

telemarketers) over and over.

       108.    The existence and prevalence of “Fullz” packages means that the PII stolen from

the data breach can easily be linked to the unregulated data (like driver’s license numbers) of



23
   “Fullz” is fraudster speak for data that includes the information of the victim, including, but not
limited to, the name, address, credit card information, social security number, date of birth, and
more. As a rule of thumb, the more information you have on a victim, the more money that can be
made off of those credentials. Fullz are usually pricier than standard credit card credentials,
commanding up to $100 per record (or more) on the dark web. Fullz can be cashed out (turning
credentials into money) in various ways, including performing bank transactions over the phone
with the required authentication details in-hand. Even “dead Fullz,” which are Fullz credentials
associated with credit cards that are no longer valid, can still be used for numerous purposes,
including tax refund scams, ordering credit cards on behalf of the victim, or opening a “mule
account” (an account that will accept a fraudulent money transfer from a compromised account)
without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records for Sale in Underground
Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18, 2014),
https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-stolen-from-
texas-life-insurance-](https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-
underground-stolen-from-texas-life-insurance-finn/ (last accessed on May 26, 2023).


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Plaintiff and the other Class Members.

          109.   Thus, even if certain information (such as driver’s license numbers) was not stolen

in the data breach, criminals can still easily create a comprehensive “Fullz” package.

          110.   Then, this comprehensive dossier can be sold—and then resold in perpetuity—to

crooked operators and other criminals (like illegal and scam telemarketers).

          Loss Of Time To Mitigate Risk Of Identity Theft And Fraud

          111.   As a result of the recognized risk of identity theft, when a Data Breach occurs,

and an individual is notified by a company that their PII was compromised, as in this Data Breach,

the reasonable person is expected to take steps and spend time to address the dangerous situation,

learn about the breach, and otherwise mitigate the risk of becoming a victim of identity theft of

fraud. Failure to spend time taking steps to review accounts or credit reports could expose the

individual to greater financial harm – yet, the resource and asset of time has been lost.

          112.   Thus, due to the actual and imminent risk of identity theft, Plaintiff and Class

Members must, as Defendants’ Notice Letter instructs,24 “remain vigilant” and monitor their

financial accounts for many years to mitigate the risk of identity theft.

          113.   Plaintiff and Class Members have spent, and will spend additional time in the

future, on a variety of prudent actions to remedy the harms they have or may experience as a

result of the Data Breach, such as researching and verifying the legitimacy of the Data Breach

upon receiving the Notice Letter.

          114.   These efforts are consistent with the U.S. Government Accountability Office that

released a report in 2007 regarding data breaches (“GAO Report”) in which it noted that victims

of identity theft will face “substantial costs and time to repair the damage to their good name and



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     Notice Letter.


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credit record.”25

        115.    These efforts are also consistent with the steps that FTC recommends that data

breach victims take several steps to protect their personal and financial information after a data

breach, including: contacting one of the credit bureaus to place a fraud alert (consider an extended

fraud alert that lasts for seven years if someone steals their identity), reviewing their credit

reports, contacting companies to remove fraudulent charges from their accounts, placing a credit

freeze on their credit, and correcting their credit reports.26

        116.    A study by Identity Theft Resource Center shows the multitude of harms caused

by fraudulent use of personal and financial information:27




25
   See United States Government Accountability Office, GAO-07-737, Personal Information:
Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the
Full Extent Is Unknown (June 2007), https://www.gao.gov/new.items/d07737.pdf.
26
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps (last
accessed July 7, 2022).
27
   Credit Card and ID Theft Statistics” by Jason Steele, 10/24/2017, available at:
https://www.creditcards.com/credit-card-news/credit-card-security-id-theft-fraud-statistics-
1276.php (last accessed Sep. 13, 2022).


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       117.    And for those Class Members who experience actual identity theft and fraud, the

United States Government Accountability Office’s GAO Report noted that victims of identity

theft will face “substantial costs and time to repair the damage to their good name and credit

record.”28

       Diminution Value Of PII

       118.    PII is a valuable property right.29 Its value is axiomatic, considering the value of

Big Data in corporate America and the consequences of cyber thefts include heavy prison

sentences. Even this obvious risk to reward analysis illustrates beyond doubt that PII has

considerable market value.

       119.    An active and robust legitimate marketplace for PII exists. In 2019, the data

brokering industry was worth roughly $200 billion.30

       120.    In fact, the data marketplace is so sophisticated that consumers can actually sell

their non-public information directly to a data broker who in turn aggregates the information and

provides it to marketers or app developers.31

       121.    Consumers who agree to provide their web browsing history to the Nielsen

Corporation can receive up to $50.00 a year.32



28
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June
2007, https://www.gao.gov/new.items/d07737.pdf (last accessed Sep. 13, 2022) (“GAO
Report”).
29
   See, e.g., Randall T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally
Identifiable Information (“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech.
11, at *3-4 (2009) (“PII, which companies obtain at little cost, has quantifiable value that is
rapidly reaching a level comparable to the value of traditional financial assets.”) (citations
omitted).
30
   https://www.latimes.com/business/story/2019-11-05/column-data-brokers
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   https://datacoup.com/
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   Nielsen Computer & Mobile Panel, Frequently Asked Questions, available at
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         122.   Conversely sensitive PII can sell for as much as $363 per record on the dark web

according to the Infosec Institute.33

         123.   As a result of the Data Breach, Plaintiff’s and Class Members’ PII, which has an

inherent market value in both legitimate and dark markets, has been damaged and diminished by

its compromise and unauthorized release. However, this transfer of value occurred without any

consideration paid to Plaintiff or Class Members for their property, resulting in an economic loss.

Moreover, the PII is now readily available, and the rarity of the Data has been lost, thereby

causing additional loss of value.

         124.   Based on the foregoing, the information compromised in the Data Breach is

significantly more valuable than the loss of, for example, credit card information in a retailer data

breach because, there, victims can cancel or close credit and debit card accounts. The information

compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

change, e.g., names and Social Security numbers.

         125.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police.

         126.   The fraudulent activity resulting from the Data Breach may not come to light for

years.

         127.   At all relevant times, Defendants knew, or reasonably should have known, of the

importance of safeguarding the PII of Plaintiff and Class Members, and of the foreseeable

consequences that would occur if Defendants’ data security system was breached, including,

specifically, the significant costs that would be imposed on Plaintiff and Class Members as a



33
   See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/
(last accessed Sep. 13, 2022).


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result of a breach.

        128.    Defendants were, or should have been, fully aware of the unique type and the

significant volume of data on Defendants’ network, amounting to over one million individuals’

detailed personal information, upon information and belief, and thus, the significant number of

individuals who would be harmed by the exposure of the unencrypted data.

        129.    The injuries to Plaintiff and Class Members were directly and proximately caused

by Defendants’ failure to implement or maintain adequate data security measures for the PII of

Plaintiff and Class Members.

        Future Cost of Credit and Identity Theft Monitoring is Reasonable and Necessary

        130.    Given the type of targeted attack in this case and sophisticated criminal activity,

the type of PII involved, and the volume of data obtained in the Data Breach, there is a strong

probability that entire batches of stolen information have been placed, or will be placed, on the

black market/dark web for sale and purchase by criminals intending to utilize the PII for identity

theft crimes–e.g., opening bank accounts in the victims’ names to make purchases or to launder

money; file false tax returns; take out loans or lines of credit; or file false unemployment claims.

        131.    Such fraud may go undetected until debt collection calls commence months, or

even years, later. An individual may not know that his or his Social Security Number was used

to file for unemployment benefits until law enforcement notifies the individual’s employer of the

suspected fraud. Fraudulent tax returns are typically discovered only when an individual’s

authentic tax return is rejected.

        132.    Consequently, Plaintiff and Class Members are at a present and continuous risk

of fraud and identity theft for many years into the future.

        133.    The retail cost of credit monitoring and identity theft monitoring can cost around




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$200 a year per Class Member. This is a reasonable and necessary cost to monitor to protect Class

Members from the risk of identity theft that arose from Defendants’ Data Breach. This is a future

cost that Plaintiff and Class Members would not need to bear but for Defendants’ failure to

safeguard their PII.

       Plaintiff’s Experience

       134.    Plaintiff is a former customer at CMFG, which, upon information and belief, is

affiliated with Milliman.

       135.    As a condition of opening an account at CMFG, she was required to provide her

PII, directly or indirectly, to Defendants, including her name, address, date of birth, and Social

Security number.

       136.    At the time of the Data Breach₋₋approximately May 29, 2023, through May 30,

2023₋₋Defendants retained Plaintiff’s PII in their system.

       137.    Plaintiff is very careful about sharing his sensitive PII. Plaintiff stores any

documents containing his PII in a safe and secure location. She has never knowingly transmitted

unencrypted sensitive PII over the internet or any other unsecured source. Plaintiff would not

have entrusted his PII to Defendants had she known of Defendants lax data security policies.

       138.    Plaintiff received the Notice Letter, by U.S. mail, from Pension Benefit

Information, LLC on behalf of Defendants, dated July 21, 2023. According to the Notice Letter,

Plaintiff’s PII was improperly accessed and obtained by unauthorized third parties, including his

name, address, and email address, date of birth, and Social Security number.

       139.    As a result of the Data Breach, and at the direction of Defendants’ Notice Letter,

Plaintiff made reasonable efforts to mitigate the impact of the Data Breach, including researching

and verifying the legitimacy of the Data Breach upon receiving the Notice Letter. Plaintiff has




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spent significant time dealing with the Data Breach₋₋valuable time Plaintiff otherwise would have

spent on other activities, including but not limited to work and/or recreation. This time has been

lost forever and cannot be recaptured.

       140.    Plaintiff suffered actual injury from having his PII compromised as a result of the

Data Breach including, but not limited to: (i) invasion of privacy; (ii) lost or diminished value of

PII; (iii) lost time and opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (iv) loss of benefit of the bargain; and (v) the continued and

certainly increased risk to their PII, which: (a) remains unencrypted and available for

unauthorized third parties to access and abuse; and (b) remains backed up in Defendants

possession and is subject to further unauthorized disclosures so long as Defendants fail to

undertake appropriate and adequate measures to protect the PII.

       141.    The Data Breach has caused Plaintiff to suffer fear, anxiety, and stress, which has

been compounded by the fact that Defendants have still not fully informed her of key details

about the Data Breach’s occurrence.

       142.    As a result of the Data Breach, Plaintiff anticipates spending considerable time

and money on an ongoing basis to try to mitigate and address harms caused by the Data Breach.

       143.    As a result of the Data Breach, Plaintiff is at a present risk and will continue to be

at increased risk of identity theft and fraud for years to come.

       144.    Plaintiff has a continuing interest in ensuring that his PII, which, upon information

and belief, remains backed up in Defendants’ possession, is protected and safeguarded from

future breaches.

                             CLASS ACTION ALLEGATIONS

       145.    Plaintiff brings this action individually and on behalf of all other persons similarly

situated, pursuant to Federal Rule of Civil Procedure 23(a), 23(b)(1), 23(b)(2), and 23(b)(3).


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        146.    Specifically, Plaintiff proposes the following nationwide class, subject to

amendment as appropriate:

        All individuals in the United States whose PII was impacted as a result of the Data Breach
        (the “Class”).

        147.    Excluded from the Class are Defendants and their parents or subsidiaries, any

entities in which they have a controlling interest, as well as their officers, directors, affiliates, legal

representatives, heirs, predecessors, successors, and assigns. Also excluded is any judge to whom

this case is assigned as well as their judicial staff and immediate family members.

        148.    Plaintiff reserves the right to modify or amend the definition of the proposed Class,

as well as add subclasses, before the Court determines whether certification is appropriate.

        149.    The proposed Class meets the criteria for certification under Fed. R. Civ. P. 23(a),

(b)(2), and (b)(3).

        150.    Numerosity. The Class Members are so numerous that joinder of all members is

impracticable. Although the precise number of Class Members is unknown to Plaintiff, according

to the report submitted to the Office of the Maine Attorney General, at least 1,200,000 persons

were impacted in the Data Breach.34 Thus, numerosity is met.

        151.    Commonality. There are questions of law and fact common to the Class which

predominate over any questions affecting only individual Class Members. These common

questions of law and fact include, without limitation:

            a. Whether Defendants engaged in the conduct alleged herein;

            b. Whether Defendants’ conduct violated the FTCA and/or GBLA;

            c. When Defendants learned of the Data Breach;



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  https://apps.web.maine.gov/online/aeviewer/ME/40/a98d9ae9-b898-4aaa-8dde-
de04551aaedb.shtml (last accessed Aug. 5, 2023).


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  d. Whether Defendants’ response to the Data Breach was adequate;

  e. Whether Defendants unlawfully lost or disclosed Plaintiff’s and Class Members’

      PII;

  f. Whether Defendants failed to implement and maintain reasonable security

      procedures and practices appropriate to the nature and scope of the PII

      compromised in the Data Breach;

  g. Whether Defendants’ data security systems prior to and during the Data Breach

      complied with applicable data security laws and regulations;

  h. Whether Defendants’ data security systems prior to and during the Data Breach

      were consistent with industry standards;

  i. Whether Defendants’ owed a duty to Class Members to safeguard their PII;

  j. Whether Defendants’ breached their duty to Class Members to safeguard their PII;

  k. Whether hackers obtained Class Members’ PII via the Data Breach;

  l. Whether Defendants had a legal duty to provide timely and accurate notice of the

      Data Breach to Plaintiff and the Class Members;

  m. Whether Defendants’ breached their duty to provide timely and accurate notice of

      the Data Breach to Plaintiff and Class Members;

  n. Whether Defendants knew or should have known that their data security systems

      and monitoring processes were deficient;

  o. What damages Plaintiff and Class Members suffered as a result of Defendants’

      misconduct;

  p. Whether Defendants’ conduct was negligent;

  q. Whether Defendants were unjustly enriched;




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            r. Whether Plaintiff and Class Members are entitled to actual and/or statutory

                damages;

            s. Whether Plaintiff and Class Members are entitled to additional credit or identity

                monitoring and monetary relief; and

            t. Whether Plaintiff and Class Members are entitled to equitable relief, including

                injunctive relief, restitution, disgorgement, and/or the establishment of a

                constructive trust.

        152.    Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s PII, like that of every other Class Member, was compromised in the Data Breach.

Plaintiff’s claims are typical of those of the other Class Members because, inter alia, all Class

Members were injured through the common misconduct of Defendants. Plaintiff is advancing the

same claims and legal theories on behalf of herself and all other Class Members, and there are no

defenses that are unique to Plaintiff. The claims of Plaintiff and those of Class Members arise from

the same operative facts and are based on the same legal theories.

        153.    Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of Class Members. Plaintiff’s counsel is competent and experienced in

litigating class actions, including data privacy litigation of this kind.

        154.    Predominance. Defendants had engaged in a common course of conduct toward

Plaintiff and Class Members in that all of Plaintiff’s and Class Members’ data was stored on the

same computer systems and unlawfully accessed and exfiltrated in the same way. The common

issues arising from Defendants’ conduct affecting Class Members set out above predominate over

any individualized issues. Adjudication of these common issues in a single action has important

and desirable advantages of judicial economy.




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       155.    Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy and no unusual difficulties are likely to be encountered

in the management of this class action. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for Milliman.

In contrast, conducting this action as a class action presents far fewer management difficulties,

conserves judicial resources and the parties’ resources, and protects the rights of each Class

Member.

       156.    Class certification is also appropriate under Fed. R. Civ. P. 23(b)(2). Milliman has

acted and/or refused to act on grounds generally applicable to the Class such that final injunctive

relief and/or corresponding declaratory relief is appropriate as to the Class as a whole.

       157.    Finally, all members of the proposed Class are readily ascertainable. Defendants

had access to the names and addresses and/or email addresses of Class Members affected by the

Data Breach. Class Members have already been preliminarily identified and sent a Notice Letter

of the Data Breach by Defendants.

                                     CAUSES OF ACTION

                                          COUNT I
                                          Negligence
                        (On Behalf of Plaintiff and all Class Members)

       158.    Plaintiff hereby repeats and realleges all preceding paragraphs contained herein.

       159.    Defendants require their clients’ customers, including Plaintiff and Class Members,




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to submit non-public PII in the ordinary course of providing its services.

       160.    Defendants gathered, stored, and shared the PII of Plaintiff and Class Members as

part of their business of soliciting its services to their clients and their clients’ customers, which

solicitations and services affect commerce.

       161.    Plaintiff and Class Members entrusted Defendants with their PII, directly or

indirectly, with the understanding that Defendants would safeguard their information.

       162.    Defendants had full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and Class Members could and would suffer if the PII were wrongfully disclosed.

       163.    By assuming the responsibility to collect and store this data, and in fact doing so,

and sharing it and using it for commercial gain, Defendants had a duty of care to use reasonable

means to secure and to prevent disclosure of the information, and to safeguard the information

from theft. Defendants’ duty included a responsibility to exercise due diligence in selecting IT

vendors and to audit, monitor, and ensure the integrity of their vendor’s systems and practices and

to give prompt notice to those affected in the case of a data breach.

       164.    Defendants had a duty to employ reasonable security measures under Section 5 of

the FTCA, 15 U.S.C. § 45, which prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair practice of failing to use reasonable

measures to protect confidential data.

       165.    Defendants’ duty to use reasonable security measures also arose under the GLBA,

under which they were required to protect the security, confidentiality, and integrity of customer

information by developing a comprehensive written information security program that contains

reasonable administrative, technical, and physical safeguards.

       166.    Defendants owed a duty of care to Plaintiff and Class Members to provide data




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security consistent with industry standards and other requirements discussed herein, and to ensure

that their systems and networks, and the personnel responsible for them, adequately protected the

PII.

       167.    Defendants’ duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendants and Plaintiff and Class Members. That

special relationship arose because Plaintiff and the Class entrusted Defendants with their

confidential PII, a necessary part of being customers of Defendants’.

       168.    Defendants’ duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendants are

bound by industry standards to protect confidential PII.

       169.    Defendants were subject to an “independent duty,” untethered to any contract

between Defendants and Plaintiff or the Class.

       170.    Defendants also had a duty to exercise appropriate clearinghouse practices to

remove former customers’ PII the were no longer required to retain pursuant to regulations.

       171.    Moreover, Defendants had a duty to promptly and adequately notify Plaintiff and

the Class of the Data Breach.

       172.    Defendants had and continue to have a duty to adequately disclose that the PII of

Plaintiff and the Class within Defendants’ possession might have been compromised, how it was

compromised, and precisely the types of data that were compromised and when. Such notice was

necessary to allow Plaintiff and the Class to take steps to prevent, mitigate, and repair any identity

theft and the fraudulent use of their PII by third parties.

       173.    Defendants breached their duties, pursuant to the FTCA, GLBA, and other

applicable standards, and thus was negligent, by failing to use reasonable measures to protect Class




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Members’ PII. The specific negligent acts and omissions committed by Defendants include, but

are not limited to, the following:

           a. Failing to adopt, implement, and maintain adequate security measures to safeguard

               Class Members’ PII;

           b. Failing to adequately monitor the security of their networks and systems;

           c. Failing to audit, monitor, or ensure the integrity of their vendor’s data security

               practices;

           d. Allowing unauthorized access to Class Members’ PII;

           e. Failing to detect in a timely manner that Class Members’ PII had been

               compromised;

           f. Failing to remove former customers’ PII they were no longer required to retain

               pursuant to regulations,

           g. Failing to timely and adequately notify Class Members about the Data Breach’s

               occurrence and scope, so that they could take appropriate steps to mitigate the

               potential for identity theft and other damages; and

           h. Failing to secure their stand-alone personal computers, such as the reception desk

               computers, even after discovery of the data breach.

       174.    Defendants violated Section 5 of the FTCA and GLBA by failing to use reasonable

measures to protect PII and not complying with applicable industry standards, as described in detail

herein. Defendants’ conduct was particularly unreasonable given the nature and amount of PII they

obtained and stored and the foreseeable consequences of the immense damages that would result

to Plaintiff and the Class.

       175.    Plaintiff and Class Members were within the class of persons the FTCA and GLBA




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were intended to protect and the type of harm that resulted from the Data Breach was the type of

harm these statues were intended to guard against.

       176.    Defendants violation of Section 5 of the FTCA and GLBA constitutes negligence.

       177.    The FTC has pursued enforcement actions against businesses, which, as a result of

their failure to employ reasonable data security measures and avoid unfair and deceptive practices,

caused the same harm as that suffered by Plaintiff and the Class.

       178.    A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendants’ inadequate security

practices.

       179.    It was foreseeable that Defendants’ failure to use reasonable measures to protect

Class Members’ PII would result in injury to Class Members. Further, the breach of security was

reasonably foreseeable given the known high frequency of cyberattacks and data breaches in the

insurance industry.

       180.    Defendants have full knowledge of the sensitivity of the PII and the types of harm

that Plaintiff and the Class could and would suffer if the PII were wrongfully disclosed.

       181.    Plaintiff and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendants knew or should have known of the inherent risks in

collecting and storing the PII of Plaintiff and the Class, the critical importance of providing

adequate security of that PII, and the necessity for encrypting PII stored on Defendants’ systems.

       182.    It was therefore foreseeable that the failure to adequately safeguard Class Members’

PII would result in one or more types of injuries to Class Members.

       183.    Plaintiff and the Class had no ability to protect their PII that was in, and possibly

remains in, Defendants’ possession.




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       184.    Defendants were in a position to protect against the harm suffered by Plaintiff and

the Class as a result of the Data Breach.

       185.    Defendants’ duty extended to protecting Plaintiff and the Class from the risk of

foreseeable criminal conduct of third parties, which has been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

to guard against the risk, or where the parties are in a special relationship. See Restatement

(Second) of Torts § 302B. Numerous courts and legislatures have also recognized the existence of

a specific duty to reasonably safeguard personal information.

       186.    Defendants have admitted that the PII of Plaintiff and the Class was wrongfully lost

and disclosed to unauthorized third persons as a result of the Data Breach.

       187.    But for Defendants’ wrongful and negligent breach of duties owed to Plaintiff and

the Class, the PII of Plaintiff and the Class would not have been compromised.

       188.    There is a close causal connection between Defendants’ failure to implement

security measures to protect the PII of Plaintiff and the Class and the harm, or risk of imminent

harm, suffered by Plaintiff and the Class. The PII of Plaintiff and the Class was lost and accessed

as the proximate result of Defendants’ failure to exercise reasonable care in safeguarding such PII

by adopting, implementing, and maintaining appropriate security measures.

       189.    Defendants’ conduct, as alleged herein, allowed them to gain a competitive

advantage over companies offering the same or similar services because, rather than properly

implement data security protocols, or verify the integrity of their partners’ systems, as required by

statute and industry standards, Defendants diverted money intended to apply to data security

towards their own profit. Defendants’ conduct, and the unfair advantage realized thereby, creates

a race to the bottom by encouraging companies to divert funds intended for data security towards




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profits in order to remain competitive. The end effect is that both consumers and the marketplace

in general are harmed through the widespread adoption of substandard data security practices and

the concomitantly increased risk of cyberattacks and fraud and identity theft (which disrupt the

lives of victims and impose a burden on the state to investigate and prevent criminal activity).

          190.   By collecting and taking custody of Plaintiff’s and Class Members’ PII with full

awareness of both the likelihood of a cyberattack targeted to acquire that information and the

severe consequences that would result to Plaintiff and Class Members if the confidentiality of the

PII was breached, Defendants assumed a special relationship that required them to guard against

the foreseeable conduct of a criminal third party. If Defendants had not intervened by taking charge

of Plaintiff’s and Class Member’s Private Information, no harm would have resulted to Plaintiff

and Class Members as a result of the Data Breach.

          191.   As a direct and proximate result of Defendants’ negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) invasion of privacy; (ii) lost

or diminished value of PII; (iii) lost time and opportunity costs associated with attempting to

mitigate the actual consequences of the Data Breach; (iv) loss of benefit of the bargain; and (v) the

continued and certainly increased risk to their PII, which: (a) remains unencrypted and available

for unauthorized third parties to access and abuse; and (b) remains backed up in Defendants’

possession and is subject to further unauthorized disclosures so long as Defendants fail to

undertake appropriate and adequate measures to protect the PII.

          192.   As a direct and proximate result of Defendants’ negligence, Plaintiff and the Class

have suffered and will continue to suffer other forms of injury and/or harm, including, but not

limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

losses.




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       193.    Additionally, as a direct and proximate result of Defendants’ negligence, Plaintiff

and the Class have suffered and will suffer the continued risks of exposure of their PII, which

remain in Defendants’ possession and is subject to further unauthorized disclosures so long as

Defendants failed to undertake appropriate and adequate measures to protect the PII in their

continued possession.

       194.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       195.    Defendants’ negligent conduct is ongoing, in that they still hold the PII of Plaintiff

and Class Members in an unsafe and insecure manner.

       196.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendants to (i) strengthen their data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                          COUNT II
                                      Negligence Per Se
                        (On behalf of Plaintiff and all Class Members)

       197.    Plaintiff hereby repeats and realleges all preceding paragraphs contained herein.

       198.    Pursuant to the Federal Trade Commission Act, 15 U.S.C. § 45, Defendants had a

duty to provide fair and adequate computer systems and data security practices to safeguard

Plaintiff’s and Class Members’ Private Information.

       199.    Defendants breached their duties to Plaintiff and Class Members under the FTC

Act by failing to provide fair, reasonable, or adequate computer systems and data security practices

to safeguard Plaintiff’s and Class Members’ Private Information.




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       200.    Defendants’ failure to comply with applicable laws and regulations constitutes

negligence per se.

       201.    The injuries to Plaintiff and Class Members resulting from the Data Breach were

directly and indirectly caused by Defendants’ violation of the statute described herein.

       202.    Plaintiff and Class Members were within the class of persons the FTC Act were

intended to protect and the type of harm that resulted from the Data Breach was the type of harm

the statue was intended to guard against.

       203.    But for Defendants’ wrongful and negligent breach of their duties owed to Plaintiff

and Class Members, Plaintiff and Class Members would not have been injured.

       204.          The injuries and harms suffered by Plaintiff and Class Members were the

reasonably foreseeable result of Defendants’ breach of their duties. Defendants knew or should

have known that it was failing to meet its duties and that Defendants’ breach would cause Plaintiff

and Class Members to experience the foreseeable harms associated with the exposure of their

Private Information.

       205.          As a direct and proximate result of Defendants’ negligent conduct, Plaintiff and

Class Members have suffered injuries and are entitled to compensatory, consequential, and

punitive damages in an amount to be proven at trial.

                                            COUNT III
                                   Breach of Implied Contract
                           (On behalf of Plaintiff and all Class Members)
       206.          Plaintiff hereby repeats and realleges all preceding paragraphs contained herein.

       207.          Defendants offered to provide financial services to its Customers, including

Plaintiff and Class Members, in exchange for payment.

       208.          Defendants also required Plaintiff and the Class Members to provide Defendants

with their Private Information to receive services from Defendants.



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       209.      In turn, Defendants impliedly promised to protect Plaintiff’s and Class Members’

Private Information through adequate data security measures.

       210.      Customers accepted Defendants offer by providing Private Information to

Defendants in exchange for receiving Defendants’ services, and then by paying for and receiving

the same.

       211.      Plaintiff and Class Members would not have entrusted their Private Information to

Defendants but-for the above-described agreement with Defendant.

       212.      Defendants materially breached their agreement(s) with Plaintiff and Class

Members by failing to safeguard such Private Information, violating industry standards necessarily

incorporated in the agreement.

       213.      Plaintiff and Class Members have performed under the relevant agreements, or such

performance was waived by the conduct of Defendants.

       214.      The covenant of good faith and fair dealing is an element of every contract. All

such contracts impose on each party a duty of good faith and fair dealing. The parties must act

with honesty in fact in the conduct or transactions concerned. Good faith and fair dealing, in

connection with executing contracts and discharging performance and other duties according to

their terms, means preserving the spirit—not merely the letter—of the bargain. Put differently, the

parties to a contract are mutually obligated to comply with the substance of their contract along

with its form.

       215.      Defendants conduct as alleged herein also violated the implied covenant of good

faith and fair dealing inherent in every contract.

       216.      The losses and damages Plaintiff and Class Members sustained as described herein

were the direct and proximate result of Defendants breach of the implied contracts with them,




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including breach of the implied covenant of good faith and fair dealing.

                                           COUNT IV
                                       Unjust Enrichment
                          (On behalf of Plaintiff and all Class Members)

       217.      Plaintiff hereby repeats and realleges all preceding paragraphs contained herein.

       218.      This Count is brought in the alternative to Count III, Breach of Implied Contract.

       219.      Plaintiff and Class Members conferred a monetary benefit on Defendants by

providing Defendants with their valuable Private Information. In doing so, Plaintiff and Class

Members understood that part of the benefit Defendants derived from the Private Information

would be applied to data security efforts to safeguard the Private Information.

       220.      Defendants enriched themselves by saving the costs they reasonably should have

expended on data security measures to secure Plaintiff’s and Class Members’ Private Information.

       221.      Instead of providing a reasonable level of security that would have prevented the

Data Breach, Defendants instead calculated to avoid their data security obligations at the expense

of Plaintiff and Class Members by utilizing cheaper, ineffective security measures. Plaintiff and

Class Members, on the other hand, suffered as a direct and proximate result of Defendants’ failure

to provide the requisite security.

       222.      Under the principles of equity and good conscience, Defendants should not be

permitted to retain the monetary value of the benefit belonging to Plaintiff and Class Members,

because Defendants failed to implement appropriate data management and security measures that

are mandated by industry standards.

       223.      Defendants acquired the monetary benefit and Private Information through

inequitable means in that they failed to disclose the inadequate security practices previously

alleged.

       224.      If Plaintiff and Class Members knew that Defendants had not secured their Private



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Information, they would not have agreed to provide their Private Information to Defendants.

       225.    Plaintiff and Class Members have no adequate remedy at law.

       226.    As a direct and proximate result of Defendants conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity how their Private Information is used; (iii) the compromise,

publication, and/or theft of their Private Information; (iv) out-of-pocket expenses associated with

the prevention, detection, and recovery from identity theft, and/or unauthorized use of their Private

Information; (v) lost opportunity costs associated with effort expended and the loss of productivity

addressing and attempting to mitigate the actual and future consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest, and recover

from identity theft; (vi) the continued risk to their Private Information, which remain in Defendants

possession and is subject to further unauthorized disclosures so long as Defendants fail to

undertake appropriate and adequate measures to protect Private Information in their continued

possession and (vii) future costs in terms of time, effort, and money that will be expended to

prevent, detect, contest, and repair the impact of the Private Information compromised as a result

of the Data Breach for the remainder of the lives of Plaintiff and Class Members.

       227.    As a direct and proximate result of Defendants conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

       228.    Defendants should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that it unjustly received from them.

                                           COUNT V
                                    Declaratory Judgment
                         (On behalf of Plaintiff and all Class Members)

       229.    Plaintiff hereby repeats and realleges all preceding paragraphs contained herein.




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       230.    Defendants owe duties of care to Plaintiff and Class Members that require

Defendants to adequately secure their Private Information.

       231.    Defendants still possess Plaintiff’s and Class Members’ Private Information.

       232.    Plaintiff and Class Members are at risk of harm due to the exposure of their Private

Information and Defendants failure to address the security failings that lead to such exposure.

       233.    Plaintiff, therefore, seek a declaration that (1) Defendants existing security

measures do not comply with its duties of care to provide reasonable security procedure and

practices appropriate to the nature of the information to protect Customers’ Private Information,

and (2) to comply with its duties of care, Defendants must implement and maintain reasonable

security measures, including, but not limited to:

               a. Engaging third-party security auditors/penetration testers as well as internal

                   security personnel to conduct testing, including simulated attacks, penetration

                   tests, and audits on Defendants’ systems on a periodic basis, and ordering

                   Defendants to promptly correct any problems or issues detected by such third-

                   party security auditors;

               b. Engaging third-party security auditors and internal personnel to run automated

                   security monitoring;

               c. Auditing, testing, and training its security personnel regarding any new or

                   modified procedures;

               d. Segmenting its user applications by, among other things, creating firewalls and

                   access controls so that if one area is compromised, hackers cannot gain access

                   to other portions of Defendants’ systems;

               e. Conducting regular database scanning and security checks;




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        f. Routinely and continually conducting internal training and education to inform

               internal security personnel how to identify and contain a breach when it occurs

               and what to do in response to a breach;

        g. Purchasing credit monitoring services for Plaintiff and Class Members for a

               period of ten years; and

        h. Meaningfully educating Plaintiff and Class Members about the threats they face

               as a result of the loss of their Private Information to third parties, as well as the

               steps they must take to protect themselves.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment as follows:

   A.     For an Order certifying this action as a class action and appointing Plaintiff and

          his counsel to represent the Class;

   B.     For equitable relief enjoining Defendants from engaging in the wrongful conduct

          complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and

          Class Members’ PII, and from refusing to issue prompt, complete and accurate

          disclosures to Plaintiff and Class Members;

   C.     For equitable relief compelling Defendants to utilize appropriate methods and

          policies with respect to consumer data collection, storage, and safety, and to

          disclose with specificity the type of PII compromised during the Data Breach;

   D.     For injunctive relief requested by Plaintiff, including but not limited to,

          injunctive and other equitable relief as is necessary to protect the interests of

          Plaintiff and Class Members, including but not limited to an order:

          i.         Prohibiting Defendants from engaging in the wrongful and unlawful acts

                     described herein;


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       ii.    Requiring Defendants to protect, including through encryption, all data

              collected through the course of their business in accordance with all

              applicable regulations, industry standards, and federal, state, or local

              laws;

      iii.    Requiring Defendants to delete, destroy, and purge the PII of Plaintiff and

              Class Members unless Defendants can provide to the Court reasonable

              justification for the retention and use of such information when weighed

              against the privacy interests of Plaintiff and Class Members;

       iv.    Requiring Defendants to implement and maintain a comprehensive

              Information Security Program designed to protect the confidentiality and

              integrity of the PII of Plaintiff and Class Members;

       v.     Prohibiting Defendants from maintaining the PII of Plaintiff and Class

              Members on a cloud-based database;

       vi.    Requiring Defendants to engage independent third-party security

              auditors/penetration testers as well as internal security personnel to

              conduct testing, including simulated attacks, penetration tests, and audits

              on Defendants systems on a periodic basis, and ordering Defendants to

              promptly correct any problems or issues detected by such third-party

              security auditors;

      vii.    Requiring Defendants to engage independent third-party security auditors

              and internal personnel to run automated security monitoring;

     viii.    Requiring Defendants to audit, test, and train their security personnel

              regarding any new or modified procedures;




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       ix.    Requiring Defendants to segment data by, among other things, creating

              firewalls and access controls so that if one area of Defendants’ network

              is compromised, hackers cannot gain access to other portions of

              Defendants’ systems;

       x.     Requiring Defendants to conduct regular database scanning and securing

              checks;

       xi.    Requiring Defendants to establish an information security training

              program that includes at least annual information security training for all

              employees, with additional training to be provided as appropriate based

              upon the employees’ respective responsibilities with handling personal

              identifying information, as well as protecting the personal identifying

              information of Plaintiff and Class Members;

      xii.    Requiring Defendants to routinely and continually conduct internal

              training and education, and on an annual basis to inform internal security

              personnel how to identify and contain a breach when it occurs and what

              to do in response to a breach;

     xiii.    Requiring Defendants to implement a system of tests to assess their

              respective employees’ knowledge of the education programs discussed in

              the preceding subparagraphs, as well as randomly and periodically testing

              employees’ compliance with Defendants’ policies, programs, and

              systems for protecting personal identifying information;

     xiv.     Requiring Defendants to implement, maintain, regularly review, and

              revise as necessary a threat management program designed to




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                 appropriately monitor Defendants’ information networks for threats, both

                 internal and external, and assess whether monitoring tools are

                 appropriately configured, tested, and updated;

        xv.      Requiring Defendants to meaningfully educate all Class Members about

                 the threats that they face as a result of the loss of their confidential

                 personal identifying information to third parties, as well as the steps

                 affected individuals must take to protect themselves; and

       xvi.      Requiring Defendants to implement logging and monitoring programs

                 sufficient to track traffic to and from Defendants’ servers; and

       xvii.     for a period of 10 years, appointing a qualified and independent third

                 party assessor to conduct a SOC 2 Type 2 attestation on an annual basis

                 to evaluate Defendants’ compliance with the terms of the Court’s final

                 judgment, to provide such report to the Court and to counsel for the Class,

                 and to report any deficiencies with compliance of the Court’s final

                 judgment.

  E.      For equitable relief requiring restitution and disgorgement of the revenues

          wrongfully retained as a result of Defendants’ wrongful conduct;

  F.      Ordering Defendants to pay for not less than ten years of credit monitoring

          services for Plaintiff and the Class;

  G.      For an award of actual damages, compensatory damages, statutory damages, and

          statutory penalties, in an amount to be determined, as allowable by law;

  H.      For an award of punitive damages, as allowable by law;




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   I.    For an award of attorneys’ fees and costs, and any other expense, including expert

         witness fees;

   J.    Pre- and post-judgment interest on any amounts awarded; and

   K.    Such other and further relief as this court may deem just and proper.

                         JURY TRIAL DEMANDED

 Plaintiff demands a trial by jury on all claims so triable.


Dated: August 15, 2023               Respectfully submitted,

                                     /s/ Andrew Shamis
                                     Andrew Shamis
                                     Bar No. 101754
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                                     Kristen Lake Cardoso*
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                                     Attorney for Plaintiff and
                                     the Proposed Class




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                               *Pro Hac Vice application forthcoming




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                     EXHIBIT A
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                                   U.S. District Court
                         Western District of Wisconsin (Madison)
                     CIVIL DOCKET FOR CASE #: 3:23−cv−00559−slc

Gregory, Betty v. Milliman Solutions, LLC et al                  Date Filed: 08/15/2023
Assigned to: Magistrate Judge Stephen L. Crocker                 Jury Demand: Plaintiff
Cause: 28:1332 Diversity−Breach of Contract                      Nature of Suit: 190 Contract: Other
                                                                 Jurisdiction: Diversity
Plaintiff
Betty Gregory                                      represented by Jeffrey M. Ostrow
on behalf of herself and all others                               Kopelowitz Ostrow P.A.
similarly situated                                                One West Las Olas Blvd.
                                                                  Suite 500
                                                                  Fort Lauderdale, FL 33301
                                                                  954−525−4100
                                                                  Fax: 954−525−4300
                                                                  Email: ostrow@kolawyers.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                 Andrew John Shamis
                                                                 Shamis & Gentile, P.A.
                                                                 14 NE 1st Avenue, Suite 1205
                                                                 Miami, FL 33132
                                                                 305−479−2299
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                                                                 Email: ashamis@shamisgentile.com
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V.
Defendant
Milliman Solutions, LLC                            represented by Daniel E. Feinberg
                                                                  Gordon Rees Scully Mansukhani, LLP
                                                                  One North Franklin
                                                                  Ste 800
                                                                  Chicago, IL 60606
                                                                  312−980−6781
                                                                  Email: dfeinberg@grsm.com
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                                                                  ATTORNEY TO BE NOTICED

Defendant
CMFG Life Insurance Company                        represented by Michael D. Leffel
                                                                  Foley & Lardner LLP
                                                                  150 East Gilman Street
                                                                  Suite 5000
                                                                  Madison, WI 53703−1482
                                                                  608−257−5035
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                                                                 414−319−7215
                                                                 Email: amittal@foley.com
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Date Filed   #   Docket Text
08/15/2023    1 COMPLAINT against CMFG Life Insurance Company, Milliman Solutions, LLC. (
                Filing fee $ 402 receipt number AWIWDC−3289667.), filed by Betty Gregory.
                (Attachments:
                # 1 Exhibit A − Data Breach Notice Letter,
                # 2 JS−44 Civil Cover Sheet,
                # 3 Summons,
                # 4 Summons) (Shamis, Andrew) Modified on 8/15/2023: Corrected demand, county
                and cause of action. Added exhibit description. (lak) (Entered: 08/15/2023)
08/15/2023       Case randomly assigned to Magistrate Judge Stephen L. Crocker. (lak) (Entered:
                 08/15/2023)
08/15/2023       Standard attachments for Magistrate Judge Stephen L. Crocker required to be served
                 on all parties with summons or waiver of service: Corporate Disclosure Statement,
                 Order Regarding Assignment of Cases, Notice of Assignment to a Magistrate Judge
                 and Consent/Request for Reassignment, Order on Dispositive Motions. (lak) (Entered:
                 08/15/2023)
08/15/2023    2 Summons Issued as to Defendants. (lak) (Entered: 08/15/2023)
08/23/2023    3 Summons Returned Executed. CMFG Life Insurance Company served on 8/18/2023,
                answer due 9/8/2023. (Shamis, Andrew) (Entered: 08/23/2023)
08/28/2023    4 Notice of Related Actions filed by Attorney Craig Mariam. (Attachments:
                # 1 Exhibit 1 Schedule of Actions,
                # 2 Exhibit 2 Proof of Service,
                # 3 Exhibit 3 Complaint, WAWD Case No. 23−cv−1206−dwc,
                # 4 Exhibit 4 Complaint, WAWD Case No. 23−cv−1246−lk,
                # 5 Exhibit 5 Complaint, WIWD Case No. 23−cv−559−slc,
                # 6 Exhibit A. Case Initiating Documents for WIWD Case No. 23−cv−559−slc,
                # 7 Exhibit 6 WAWD Case No. 23−cv−1236−raj,
                # 8 Envelope) (jls) (Entered: 08/28/2023)
09/01/2023    5 Notice of Related Actions. (Attachments:
                # 1 Exhibit 1 Proof of Service,
                # 2 Envelope) (jls) (Entered: 09/01/2023)
09/05/2023    6 Notice of Appearance filed by Anne−Louise T. Mittal for Defendant CMFG Life
                Insurance Company. (Mittal, Anne−Louise) (Entered: 09/05/2023)
09/05/2023    7 Notice of Appearance filed by Michael D. Leffel for Defendant CMFG Life Insurance
                Company. (Leffel, Michael) (Entered: 09/05/2023)
09/05/2023    8 Unopposed Motion for Extension of Time to File Answer by Defendant CMFG Life
                Insurance Company. (Leffel, Michael) (Entered: 09/05/2023)
09/05/2023    9 Corporate Disclosure Statement by Defendant CMFG Life Insurance Company.
                (Leffel, Michael) (Entered: 09/05/2023)
09/07/2023   10 ** TEXT ONLY ORDER **
                ORDER granting 8 Motion for Extension of Time to Answer. CMFG Life Insurance
                Company answer due 10/5/2023. Signed by Magistrate Judge Stephen L. Crocker on
                9/7/2023. (lam) (Entered: 09/07/2023)
09/12/2023   11 Notice of Appearance filed by Jeffrey M. Ostrow for Plaintiff Betty Gregory. (Ostrow,
                Jeffrey) (Entered: 09/12/2023)
09/14/2023   12 Notice of Appearance filed by Daniel E. Feinberg for Defendant Milliman Solutions,
                LLC. (Feinberg, Daniel) (Entered: 09/14/2023)
09/14/2023   13 Joint Motion for Extension of Time to Respond to Complaint by Defendant Milliman
                Solutions, LLC. (Attachments:
                # 1 Exhibit A−Transfer Motion,
                # 2 Text of Proposed Order) (Feinberg, Daniel) Modified on 9/14/2023: Exhibit A is a
                Memorandum in Support of Motion. Motion to be filed? (lak) (Entered: 09/14/2023)
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09/14/2023   14 Corporate Disclosure Statement by Defendant Milliman Solutions, LLC. (Feinberg,
                Daniel) (Entered: 09/14/2023)
09/14/2023   15 ** TEXT ONLY ORDER **
                ORDER granting 13 Motion for Extension of Time. Answer due 45 days after a ruling
                by the Judicial Panel on Multidistrict Litigation. Signed by Magistrate Judge Stephen
                L. Crocker on 9/14/2023. (jls) (Entered: 09/14/2023)
